














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD-NO. 1838-07





TREMAINE DESHAUN WAGONER, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TWELFTH COURT OF APPEALS

SMITH COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i), 
because the original petition does not contain a copy of the opinion of the court of
appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Delivered:   March 19, 2008

Do Not Publish


